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 5   Attorney for Defendant
     TARSEM SINGH
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 7
 8                          IN THE UNITED STATES DISTRICT COURT
 9                        FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,           )                Case No. Cr. S-07-570 FCD
                                         )
12               Plaintiff,              )
                                         )
13         v.                            )                REQUEST TO CALENDAR FOR
                                         )                REQUEST FOR MODIFICATION
14   TARSEM SINGH,                       )                OF BAIL RELEASE CONDITIONS,
                                         )                ORDER
15                                       )
                 Defendant.              )
16   ____________________________________)
17          On or about December 18, 2007, Defendant, Tarsem Singh, was ordered released on a
18   $100,000 secured bond by the Honorable Edmund F. Brennan. At that time, it was believed
19   that some combination of property, including four commercial trucks, a mobile home, and a
20   family residence, were available to meet this amount. It was subsequently learned that this is
21   not the case. However, it is believed that a combination of conditions exists which will
22   reasonably assure the appearance of the Defendant as required. These include the surrender to
23   the Court of titles to approximately $50,000 in vehicles (two commercial trucks and three
24   personal vehicles of close family members), an agreement to forfeit the equity in Defendant’s
25   wife’s mobile home, and an unsecured appearance bond signed by Defendant’s brother-in-law,
26   Bagavan Singh. In addition, Bagavan Singh and/or John Kirk, an attorney and family friend,
27   is/are willing to act as a third party custodian(s) of the Defendant. The Defendant has
28   previously surrendered his passport to the Court in this matter.


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 1          For the foregoing reasons, the Defendant respectfully requests that the Court calendar
 2   this matter for Monday, February 11, 2008 at 2:00 p.m. to consider his request to modify his
 3   conditions of release to allow the surrender of the above-described vehicle titles, the forfeiture
 4   of all equity in the above-described mobile home, the posting of a combination of secured and
 5   unsecured bonds with the Court, and the designation of a third party custodian to secure his
 6   release in the pending matter.
 7   Dated: February 7, 2008                               Respectfully submitted,
 8
 9                                                         __/s/ Lorie J. Teichert
                                                           LORIE J. TEICHERT
10                                                         Attorney for Defendant
11
12                                               ORDER
13          IT IS HEREBY ORDERED that the above-entitled matter be calendared for Monday,
14   February 11, 2008 at 2:00 p.m. for the Court’s consideration of a modification of Defendant’s
15   release conditions.
16   DATED: February 8, 2008.
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